    Case: 1:19-cv-05469 Document #: 28 Filed: 08/18/20 Page 1 of 3 PageID #:183




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS,
                           EASTERN DIVISION


ROOR INTERNATIONAL BV and               )
SREAM, INC.,                            )       Case No. 19-CV-5469
                                        )
              Plaintiffs,               )       Judge John Robert Blakey
                                        )
      vs.                               )
                                        )
COOL STUFF, INC. d/b/a                  )
COOL STUFF FOOD & TOBACCO               )
and HARSHISH PATEL                      )
                                        )
Defendants.                             )


                            DEFAULT JUDGMENT ORDER

      This matter coming before the Court on Plaintiffs’ Motion for Entry of Default

Judgment under Rule 55(b), and after considering the prove-up materials and

memorandum submitted by movant, the Court hereby finds, and it is ORDERED:

      1.      The Plaintiffs filed their Complaint on August 13, 2019 [Dkt. 1].

      2.      The Summons and Complaint was served on Cool Stuff, Inc., on October

1, 2019 [Dkt. 9].

      3.      The Summons and Complaint was served on Harshish Patel, on October

4, 2019 [Dkt. 10].

      4.      The Defendants have failed to respond to the Complaint or otherwise

appear in this instant action.

      5.      The Court entered a Rule 55(a) default against Defendants on

November 4, 2019. See Fed. R. Civ. Pro. 55(a) [Dkt. 13].


                                            1
    Case: 1:19-cv-05469 Document #: 28 Filed: 08/18/20 Page 2 of 3 PageID #:184




      6.     Plaintiffs have filed prove-up materials and a memorandum of law.

[Dkt. 24 & 25].

      7.     In counterfeit trademark cases, the balance in setting statutory

damages is providing some measure of compensation and deterrence, without

crossing the line into over-deterrence. Relevant considerations include the nature and

price of the product; the volume of sales (or an estimate depending on the size of the

offending retail operation); any safety and health risks of the counterfeit goods; and

the strength of the mark. See, e.g., Republic Technologies (NA) LLC v. Smoke Shop

for You XX, Inc. 19 C 8462 (N.D. Ill. 2020) (Chang, J.).

      8.     Here, the tobacco pipe bought by the investigator was $143.33, which is

a substantial price. Also, the investigator reported there were several offending RooR

pipes being offered at the location. Moreover, the Defendant is in the business of

operating smoke shops, where familiarity with the brand should be known. And on

default willfulness is presumed.

      9.     Additionally, as the court in Smoke Shop for You XX, Inc., concluded,

“there actually is some health concern with counterfeit products that are designed to

convey vapors into the body.” Id.

      10.     Accordingly, the Court awards $20,000.00 in statutory damages. In

addition to the statutory damages, $528.20 is awarded for costs (the filing fee and

service expense). The total judgment amount is thus $20,528.20.

A separate AO-450 judgment shall be entered.




                                           2
   Case: 1:19-cv-05469 Document #: 28 Filed: 08/18/20 Page 3 of 3 PageID #:185




      Judgment in entered in favor of ROOR INTERNATIONAL BV and SREAM,

INC., and against COOL STUFF, INC. d/b/a COOL STUFF FOOD & TOBACCO and

HARSHISH PATEL, jointly and severally in the amount of $20,528.20.



So Ordered.

Dated: August 18, 2020

                                        Entered:

                                        ______________________________________
                                        John Robert Blakey
                                        United States District Judge




                                       3
